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sTATE oF oKLAHoMA DEC - 8 2016

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IvAN DlAz ‘"“TE°' °'°'M'imm"

Plaintiff, )“iirgo 1 6° 0 4 470

vs. )

) ATTORNEY LIEN CLAIMED
JOHN ZINK COMPANY, LLC, )
a Foreign For Profit Business ) .
Corporation, d/b/a JoHN ZINK ) Carohn 9 Wali
HAMWORTHY COMBUSTION )

)

Defendant. )
PETITION

COMES NOW the Plaintiff, Ivan Diaz, by and through his attorneys of record, Daniel E.
Smolen of SMOLEN, SMOLEN & ROYTMAN, PLLC, and brings this action against the Defendant for
violations of his statutory and constitutionally protected rights arising out of his employment and
termination by said Defendant.

PARTIES, JURISDICTION AND VENUE
l. This is an action for damages and to secure protection of and to redress deprivation of
rights secured by the Farnily and Medical Leave Act of 1993 (29 U.S.C. § 2601 , et seq.)
(hereinafter “FMLA”).
2. Plaintiff is a resident of Oklahoma and resides in Tulsa County, Oklahoma.

3. Defendant John Zink Company, LLC (“John Zink”) was PlaintiH’s employer and is a

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foreign for profit corporation that regularly does business in Tulsa County, Oklahoma. Defendant

John Zink regularly employees more than fifty employees.

4. The injuries that are the subject of this dispute occurred in Tulsa County, Oklahoma.

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5. This Court has jurisdiction and venue is proper in Tulsa County, State of 0klahoma, as
the unlawful employment practices complained of herein occurred within Tulsa County, State of
0klahoma.

FACTS COMMON TO ALL COUNTS
6. Plaintiff, Ivan Diaz, incorporates as if realleged Paragraphs 1-5.
7. Plaintiff began working for John Zink as a code welder on or about October l, 2012 and
was employed with John Zink for nearly four years.
8. During his employment with the Defendant, the Plaintiff was “an eligible employee” as
described by 29 U.S.C. § 2611(2) of the FMLA. As a full-time employee of John Zink, the
Plaintiff worked over 25 hours a week and met the required minimum of 1,250 work hours in the
twelve (12) months previous to his requests for FMLA leave.
9. After a workplace accident in 2015, Plaintist anxiety attacks worsened. His medical
condition is considered a serious health condition as described by 29 U.S.C. §2661 of the FMLA.
Plaintist treating physician signed an FMLA certification detailing why Plaintiff could not
work while he was having a panic attack, qualifying him for leave under the FMLA.
10. Additionally, on or about March 3, 2016, a physician for the Plaintiff’s son signed a
Certification of Health Care Provider for Family Member’s Serious Health Condition due to
Plaintifl’s son’s serious health condition. On or around March 7, 2016, Defendant sent Plaintiff a
letter saying his leave of absence for this purpose had been designated as eligible for intermittent
FMLA.
ll. Through its employees and managers, Defendant controlled the Plaintist ability to take
leaves of absence and to return to his employment position with the Defendant. And although

Plaintiff performed his duties to the satisfaction of his employer, after he applied and was

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approved for FMLA leave he began to receive write-ups when he exercised his right to take
intermittent leave for his own serious health condition and that of his son.

12. The Defendant willfully and deliberately interfered with Plaintift”s ability to exercise his
rights under the FMLA by disciplining him when he took intermittent FMLA leave for himself
or his child.

13. Then at the end of July 2016, Plaintiff’s grandfather passed away. Defendant offers
bereavement leave to its employees in addition to paid time off In the past, Plaintiff and other
employees never needed preapproval to take bereavement leave.

14. However, after Plaintiff took bereavement leave in July 2016, Gary Goodnight, the plant
manager, and Patty Smith, from Human Resources, met with Plaintiff to inform him he should
have preapproved his bereavement leave. During the meeting, Plaintiff explained he was never
required to preapprove his bereavement leave before and it was common practice at the plant to
leave a message regarding bereavement leave if the loss occurred outside of business hours.

15. After the meeting, Mr. Goodnight sent Plaintiff home for the day. The following day
Plaintiff discovered his badge did not work and he was locked out of the plant. Patty Smith from
Human Resources later called the Plaintiff to inform him he was being discharged as of August
1, 2016.

16. The discriminatory and retaliatory practices complained of above have resulted in the loss
of Plaintiff's job with the Defendant, John Zink, and consequently Plaintiff has also suffered lost
wages and the loss of heath benefits for himself and his family.

17. The unlawful employment practices complained of were and are intentional.

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FIRST CLAlM FOR RELIEF:
DISCRIMINATION/RETALIATION IN VIOLATION OF

FMLA129 U.S.C. § 2615¢3[§1! and 1211

18. Plaintiff, Ivan Diaz, incorporates as if realleged Paragraphs 1-17.
19. By interfering with Plaintiffs FMLA rights and terminating his employment in
retaliation for exercising his rights under the FMLA, the Defendant has violated 29 U.S.C. §
2615(a)(1) and 2615(a)(2).

WHEREFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement
b. Compensatory damages for his mental anguish, pain and suffering and other

non-pecuniary losses;
c. His attorney fees and the costs and expenses of this action;
d. Such other relief as the Court deems just and equitable.

SECOND CLAIM F()R RELIEF
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

20. Plaintiff, Ivan Diaz, incorporates as if realleged Paragraphs 1-19.

21. The Defendant’s actions of intentional and malicious discrimination are extreme and

outrageous and have caused severe emotional and psychological damage to the Plaintiff.
WHEREFORE, Plaintiff prays for judgment against the Defendant for:

a. Back pay and lost benefits; front pay until normal retirement
b. Compensatory damages for his mental anguish, pain and suffering and other

non-pecuniary losses;
c. Punitive damages for the intentional and knowing acts of discrimination

committed by Defendant’s management and executives;
d. His attorney fees and the costs and expenses of this action;
e. Such other relief as the Court deems just and equitable.
WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant him the relief
sought including, but not limited to, actual damages in excess of Seventy-Five Thousand Dollars
($75,000), with interest accruing from date of filing of suit, back pay and lost benths,

compensatory damages for mental anguish, punitive damages, pain and suffering and other non-

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pecuniary loss, reasonable attorneys fees, injunctive relief, and all other relief deemed

appropriate by this Court.

Respectfully submitted,

 

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